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     Proposed Counsel to the Debtors
     and Debtors in Possession

                  IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA
                             RICHMOND DIVISION
      - - - - - - - - - - - - - - x
                                    :   Chapter 11
      In re:                        :
      CIRCUIT CITY STORES, INC., :      Case No. 08- _____ (___)
      et al.,                       :
                                    :   Jointly Administered
                       Debtors.     :
      - - - - - - - - - - - - - - x
       MOTION OF THE DEBTORS, PURSUANT TO 11 U.S.C. §§ 105(a),
            342(a) AND 521, FED. R. BANKR. P. 1007 AND LOCAL
        BANKRUPTCY RULE 1007-1, FOR AUTHORITY TO (A) PREPARE A
          LIST OF CREDITORS IN LIEU OF SUBMITTING A FORMATTED
        MAILING MATRIX AND (B) FILE A CONSOLIDATED LIST OF THE
             DEBTORS' FIFTY (50) LARGEST UNSECURED CREDITORS
                  The debtors and debtors in possession in the

     above-captioned cases (collectively, the “Debtors”)1



     1
         The Debtors are the following entities: The Debtors and the last
         four digits of their respective taxpayer identification numbers
                                                                   (cont'd)
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     hereby move the Court (the "Motion") for the entry of an

     order, 11 U.S.C. §§ 105(a), 342(a) and 521, Fed. R.

     Bankr. P. 1007 Rule 1007-1 of the Local Bankruptcy Rules

     for the United States Bankruptcy Court for the Eastern

     District of Virginia (the "Local Bankruptcy Rules"),

     authorizing the Debtors to (a) prepare a list of

     creditors in lieu of submitting a formatted mailing

     matrix and (b) file a consolidated list of the Debtors'

     fifty (50) largest unsecured creditors.             In support of

     the Motion, the Debtors rely upon and incorporate by

     reference the Declaration of Bruce H. Besanko, Executive

     Vice President and Chief Financial Officer of Circuit

     City Stores, Inc., in Support of Chapter 11 Petitions

     and First Day Pleadings (the "Besanko Declaration"),



     ________________________
     (cont'd from previous page)
       are as follows: Circuit City Stores, Inc. (3875), Circuit City
       Stores West Coast, Inc. (0785), InterTAN, Inc. (0875), Ventoux
       International, Inc. (1838), Circuit City Purchasing Company, LLC
       (5170), CC Aviation, LLC (0841), CC Distribution Company of
       Virginia, Inc. (2821), Circuit City Properties, LLC (3353),
       Kinzer Technology, LLC (2157), Abbott Advertising Agency, Inc.
       (4659), Patapsco Designs, Inc.(6796), Sky Venture Corp. (0311),
       Prahs, Inc.(n/a), XSStuff, LLC (9263), Mayland MN, LLC (6116),
       Courchevel, LLC (n/a), Orbyx Electronics, LLC (3360), and Circuit
       City Stores PR, LLC (5512). The address for Circuit City Stores
       West Coast, Inc. is 9250 Sheridan Boulevard, Westminster,
       Colorado 80031. For all other Debtors, the address is 9950
       Mayland Drive, Richmond, Virginia 23233.




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     filed with the Court concurrently herewith.               In further

     support of the Motion, the Debtors respectfully represent:

                             JURISDICTION AND VENUE

                1.      The Court has jurisdiction over this

     matter pursuant to 28 U.S.C. § § 157 and 1334.               This

     matter is a core proceeding within the meaning of 28

     U.S.C. § 157(b)(2).         Venue is proper pursuant to 28

     U.S.C. §§ 1408 and 1409.

                2.      The statutory bases for the relief

     requested herein are sections 105(a), 342(a) and 521 of

     the Bankruptcy Code, 11 U.S.C. §§ 101-1532 (the

     "Bankruptcy Code"), Rules 1007(a)(1) and (d) and 2002(a)

     and (f) of the Federal Rules of Bankruptcy Procedure

     (the "Bankruptcy Rules") and Local Bankruptcy Rule 1007-

     1.

                                    BACKGROUND

                3.      On the date hereof (the “Petition Date”),

     the Debtors filed voluntary petitions in this Court for

     relief under chapter 11 of the Bankruptcy Code.                The

     factual background regarding the Debtors, including

     their business operations, their capital and debt

     structure, and the events leading to the filing of these




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     bankruptcy cases, is set forth in detail in the Besanko

     Declaration, filed concurrently herewith and fully

     incorporated herein by reference.2

                  4.      The Debtors continue to manage and

     operate their businesses as debtors in possession

     pursuant to Bankruptcy Code sections 1107 and 1108.

                  5.      No trustee or examiner has been appointed

     in these chapter 11 cases, and no committees have yet

     been appointed or designated.

                                  RELIEF REQUESTED

                  6.      The Debtors seek entry of an order

     authorizing the Debtors to (a) prepare a list of

     creditors in lieu of submitting a formatted mailing

     matrix and (b) file a consolidated list of the Debtors'

     fifty (50) largest unsecured creditors.

                                  BASIS FOR RELIEF

     A.     List of Creditors in Lieu of Mailing Matrix

                  7.      Pursuant to Bankruptcy Rule 1007(a)(1),

     "the debtor shall file with the petition a list

     containing the name and address of each creditor unless


     2
         Capitalized terms not otherwise defined herein shall have the
         meanings ascribed to them in the Besanko Declaration.




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     the petition is accompanied by a schedule of

     liabilities."       Local Bankruptcy Rule 1007-1(I) states

     that this list of creditors must be submitted on a

     diskette in a computer readable format specified by the

     Office of the Clerk of the Court.             Exhibit 5 to the

     Local Bankruptcy Rules ("Exhibit 5") specifies the

     format in which the mailing matrix must be submitted.

                 8.      The Debtors have already prepared a

     single, consolidated list of all of the Debtors'

     creditors and are prepared to make such list available

     in electronic form to any party in interest who so

     requests and in non-electronic form at such requesting

     party's sole cost and expense, in lieu of submitting a

     mailing matrix as specified in Exhibit 5 (collectively,

     the "Creditor List").          The Creditor List will exclude

     employee addresses but Kurtzman Carson Consultants LLC

     will maintain the record and disclose the employee

     addresses on request from the Court or other party in

     interest.

                 9.      There are hundreds of thousands of

     creditors and parties in interest in the Debtors'

     bankruptcy cases. The Debtors maintain lists of the




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     names and addresses of all such entities on various

     computer software programs that permit the Debtors,

     and/or a third-party service provider on the Debtors'

     behalf, to print mailing labels for each such entity. As

     described in greater detail below, contemporaneously

     herewith, the Debtors' have sought to retain Kurtzman

     Carson Consultants LLC as the Debtors' notice, claims

     and balloting agent in these chapter 11 cases.

                 10.   Because the Clerk of this Court will be

     relieved of the burden of sending notice to the Debtors'

     numerous creditors and parties in interest, the Clerk

     should not need the information provided in a mailing

     matrix formatted in accordance with Local Bankruptcy

     Rule 1007-1(I).

                 11.   Compiling the information in the format

     required by Local Bankruptcy Rule 1007-1(I) and Exhibit

     5 would create an unnecessary administrative burden for

     the Debtors' estates.        Additionally, the risk of error

     in transcription would be significant, particularly in

     light of the large number of creditors and parties in

     interest.




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     B.    Consolidated List of the Debtors' Fifty (50)
           Largest Unsecured Creditors

                12.    Bankruptcy Rule 1007(d) provides that a

     debtor shall file "a list containing the name, address

     and claim of the creditors that hold the 20 largest

     unsecured claims, excluding insiders. . . ."              Fed. R.

     Bankr. P. 1007(d).       Because many creditors are shared

     amongst certain of the Debtors and the Debtors operate

     as a single business enterprise, the Debtors request

     authority to file a single, consolidated list of their

     fifty (50) largest general unsecured creditors.

                13.    In addition, the exercise of compiling

     separate top 20 creditor lists for each individual

     Debtor would consume an excessive amount of the Debtors'

     scarce time and resources.         Moreover, as the Debtors

     will request the Office of the United States Trustee for

     the Eastern District of Virginia (the "U.S. Trustee") to

     appoint a single official committee of unsecured

     creditors, a consolidated list of the largest creditors

     is a more appropriate list of the Debtors' most

     significant unsecured creditors.           As such, the Debtors

     believe relief to file a single consolidated list of the




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     fifty (50) largest unsecured creditors in these chapter

     11 cases is appropriate. Similar relief has been granted

     in comparable chapter 11 cases in this district and

     other jurisdictions. See, e.g., In re Movie Gallery,

     Inc., et al., Case No. 07-33849 (SSM)(Bankr. E.D. Va.

     Oct. 18, 2007); In re US Airways, Inc., Case No. 04-

     13819 (SSM) (Bankr. E.D. Va. Sept. 13, 2004).

                                     NOTICE

                14.    Notice of this Motion will be given to:

     (i) the Office of the United States Trustee for the

     Eastern District of Virginia; (ii) counsel to the agent

     for Debtors' postpetition lenders; (iii) counsel to the

     agent for the Debtors' prepetition lenders; and (iv) the

     Debtors' top fifty (50) largest unsecured creditors on a

     consolidated basis.        The Debtors submit that, under the

     circumstances, no other or further notice of the Motion

     is required.

                       WAIVER OF MEMORANDUM OF LAW

                15.    Pursuant to Local Bankruptcy Rule 9013-

     1(G), and because there are no novel issues of law

     presented in the Motion and all applicable authority is

     set forth in the Motion, the Debtors request that the




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     requirement that all motions be accompanied by a

     separate memorandum of law be waived.

                               NO PRIOR REQUEST

                16.    No previous request for the relief sought

     herein has been made to this Court or any other court.




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                                   CONCLUSION

                WHEREFORE, the Debtors respectfully request

     that the Court enter an order, substantially in the form

     annexed hereto, granting the relief requested in the

     Motion and such other and further relief as may be just

     and proper.

     Dated: November 10, 2008
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                   IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA
                              RICHMOND DIVISION
      - - - - - - - - - - - - - - x
                                  :
      In re:                      :             Chapter 11
                                  :
      CIRCUIT CITY STORES, INC., :              Case No. 08- _____ (___)
      et al.,                     :
                                  :
                     Debtors.     :             Jointly Administered
      - - - - - - - - - - - - - - x

          ORDER AUTHORIZING THE DEBTORS TO (A) PREPARE A LIST OF
            CREDITORS IN LIEU OF SUBMITTING A FORMATTED MAILING
         MATRIX AND (B) FILE A CONSOLIDATED LIST OF THE DEBTORS'
                   FIFTY (50) LARGEST UNSECURED CREDITORS

                   Upon the motion (the “Motion”)1 of the Debtors

     for an order, pursuant to Bankruptcy Code sections


     1
          Capitalized terms not otherwise defined herein shall have the
          meanings ascribed to such terms in the Motion.
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     105(a), 342(a) and 521, Fed. R. Bankr. P. 1007 Rule

     1007-1 of the Local Bankruptcy Rules for the United

     States Bankruptcy Court for the Eastern District of

     Virginia (the "Local Bankruptcy Rules"), authorizing,

     but not directing, the Debtors to (a) prepare a list of

     creditors in lieu of submitting a formatted mailing

     matrix and (b) file a consolidated list of the Debtors'

     fifty (50) largest unsecured creditors; and the Court

     having reviewed the Motion and the Besanko Declaration;

     and the Court having determined that the relief

     requested in the Motion is in the best interests of the

     Debtors, their estates, their creditors, and other

     parties in interest; and it appearing that proper and

     adequate notice of the Motion has been given and that no

     other or further notice is necessary; and upon the

     record herein; and after due deliberation thereon; and

     good and sufficient cause appearing therefor, it is

     hereby

                ORDERED, ADJUDGED AND DECREED that:

                1.      The Motion is GRANTED.

                2.      The Debtors are authorized to file a

     consolidated list of their fifty (50) largest unsecured




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     creditors in the Debtors' chapter 11 cases in lieu of

     each Debtor filing a list of its 20 largest unsecured

     creditors.

                  3.      In lieu of submitting a formatted mailing

     matrix, the Debtors shall make available a single,

     consolidated list of all of the Debtors' creditors in

     electronic form to any party who so requests and in non-

     electronic form at such requesting party's sole cost and

     expense.   The list will exclude employee addresses but

     on request from the Court or other party in interest the

     employee addresses will be disclosed.

                  4.      The Debtors are authorized to take all

     actions necessary to effectuate the relief granted

     pursuant to this Order in accordance with the Motion.

                  5.      The terms and conditions of this Order

     shall be immediately effective and enforceable upon its

     entry.

                  6.      The requirement under Local Bankruptcy

     Rule 9013-1(G) to file a memorandum of law in connection

     with the Motion is hereby waived.




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                7.      The Court retains jurisdiction with

     respect to all matters arising from or related to the

     implementation of this Order.

     Dated:   Richmond, Virginia
              [_________], 2008


                                UNITED STATES BANKRUPTCY JUDGE

     WE ASK FOR THIS:

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     CERTIFICATION OF ENDORSEMENT UNDER LOCAL RULE 9022-1(C)

          I hereby certify that notice of the Debtors' intent
     to seek entry of the foregoing proposed order was
     provided to the parties identified in the Motion and
     copy of this proposed order was provided to the Office
     of the United States Trustee for the Eastern District of
     Virginia prior to submission to this Court.

                                             /s/ Douglas M. Foley




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